         Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 1 of 18




                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                          §
                                §
GARRISON MUNICIPAL PARTNERS, LP §                                    Case No. 14-32867
                                §                                       (Chapter 7)
    DEBTOR.                     §
                                §

         TRUSTEE’S OMNIBUS OBJECTION TO PROOFS OF CLAIM FILED BY
          LIMITED PARTNERS OF GARRISON MUNICIPAL PARTNERS, L.P.

  [Claim Nos. 2, 3, 4, 5, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28,
              29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, and 45]

         THIS IS AN OBJECTION TO YOUR CLAIM. THE OBJECTING PARTY
         IS ASKING THE COURT TO DISALLOW THE CLAIM THAT YOU
         FILED IN THIS BANKRUPTCY CASE. YOU SHOULD IMMEDIATELY
         CONTACT THE OBJECTING PARTY TO RESOLVE THE DISPUTE. IF
         YOU DO NOT REACH AN AGREEMENT, YOU MUST FILE A
         RESPONSE TO THIS OBJECTION AND SEND A COPY OF YOUR
         RESPONSE TO THE OBJECTING PARTY WITHIN 30 DAYS AFTER
         THE OBJECTION WAS SERVED ON YOU. YOUR RESPONSE MUST
         STATE WHY THE OBJECTION IS NOT VALID. IF YOU DO NOT FILE
         A RESPONSE WITHIN 30 DAYS AFTER THE OBJECTION WAS
         SERVED ON YOU, YOUR CLAIM MAY BE DISALLOWED WITHOUT
         A HEARING.

         PURSUANT TO BANKRUPTCY RULE 3007(E), THE CLAIMANTS
         RECEIVING THE OBJECTION CAN LOCATE THEIR NAMES AND
         CLAIMS IN EXHIBIT A TO THIS OBJECTION.

         A HEARING HAS BEEN SET ON THIS MATTER ON JULY 20, 2017 AT
         2:00PM IN COURTROOM 403, U.S. COURTHOUSE, 515 RUSK AVENUE,
         HOUSTON, TEXAS 77002.

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         Rodney D. Tow, the trustee (the “Trustee”) of the chapter 7 estate of Garrison Municipal

Partners L.P. (the “Debtor” or the “Partnership”) files this Omnibus Objection (the “Objection”)

to proofs of claim numbers 2 to 5 and 10 to 45 (the “Claims”), submitted by the limited partners



                                                                                                        1
       Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 2 of 18




of the Debtor (the “Claimants”). In support of this Objection, the Trustee submits the Affidavit

of Rodney D. Tow attached hereto as Exhibit A (the “Affidavit”) and respectfully states as

follows:

                                   JURISDICTION AND VENUE

       1.     The Court has jurisdiction over this Objection pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

       2.     This Court may grant the relief requested in this Objection under Bankruptcy

Code §§ 105(a), 502, and 510(b) (the “Bankruptcy Code”); Bankruptcy Rule 3007; and

Bankruptcy Rules for the Southern District of Texas 3007-1.

                                 PROCEDURAL BACKGROUND

       3.     The Debtor is a limited partnership organized in February 2008 under the laws of

the State of Texas. The purported primary objective of the Partnership was to invest in the

municipal bond market.

       4.     Charles Monroe Garrison (“Monroe Garrison”) represented that the Partnership

would invest primarily in municipal securities. However, notwithstanding these representations,

Monroe Garrison caused the Partnership to invest in highly speculative securities that were not

readily marketable.

       5.     Monroe Garrison caused the Partnership to “value” these non-marketable

securities in its books in amounts that far exceeded the amount paid for such investments.

Specifically, Monroe Garrison would cause the Partnership to purchase certain bonds below par

and then would immediately mark them up to par.




                                                                                              2
          Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 3 of 18




          6.       As a result of Monroe Garrison’s use of inflated valuations, the book and records

of the Partnership incorrectly showed that the Partnership’s investments were realizing

substantial returns, when there was no actual return occurring.

          7.       The Claimants became limited partners in the Debtor by investing in the Debtor

through various subscription agreements. Certain Claimants made redemption calls and

withdrew from the Partnership between February 2008 and May 22, 2014 (the “Petition Date”).

          8.       On the Petition Date, the Debtor filed a voluntary petition under chapter 7 of the

Bankruptcy Code with the United States Bankruptcy Court for the Southern District of Texas,

Houston Division (the “Court”).

          9.       To date, entities and individuals have filed 46 proofs of claim against the Debtor,

including the Claimants. The Trustee and his advisors have reviewed these proofs of claim,

including the supporting documentation filed therewith. For the reasons set forth below, and

based on the Trustee’s review, the Trustee has determined that the Claims of the Claimants listed

on Exhibit B should be reclassified as equity interests pursuant to Section 510(b) of the

Bankruptcy Code as set forth herein.

                                           RELIEF REQUESTED

A. Claims Should be Subordinated to Equity

          10.      The Claimants assert that the Claims are entitled to status as general unsecured

claims.        After reviewing the Claims, including supporting documentation provided by the

Claimants, if any, the Trustee has determined that the Claims are not properly classified as

general unsecured claims.

          11.      The Claims should be reclassified because they are subject to mandatory

subordination under Section 510(b) of the Bankruptcy Code. Specifically, Section 510(b) of the



                                                                                                    3
       Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 4 of 18




Bankruptcy Code requires that the Claims be reclassified as equity claims because each such

proof of claim was filed on account of equity interests in the Debtor. Section 510(b) of the

Bankruptcy Code provides:

               For the purpose of distribution under this title, a claim arising from
               rescission of a purchase or sale of a security of the debtor or of an
               affiliate of the debtor, for damages arising from the purchase of sale
               of such a security, or for reimbursement or contribution allowed under
               section 502 on account of such a claim, shall be subordinated to all
               claims or interests that are senior to or equal the claim or interest
               represented by such security, except that if such security is common
               stock, such claim has the same priority as common stock.

       12.     Section 510(b) of the Bankruptcy Code serves to effectuate one of the general

principles of bankruptcy law, which is that creditors are entitled to be paid ahead of shareholders

in the distribution of corporate assets. See In re Am. Housing Found., 785 F.3d 143, 153 (5th

Cir. 2015)(stating that Section 510(b) of the Bankruptcy Code mandates the subordination of

claims arising from purchase of securities); see also In re SeaQuest Diving, LP, 579 F.3d 411,

425 (5th Cir. 2009). In order to achieve this result, Section 510(b) makes clear that claims

arising from equity investments in a debtor should be subordinated to the claims of general

creditors. See In re Am. Housing Found., 785 F.3d at 153.

       13.     Furthermore, the Claimants’ ownership interests in the Debtor constitute

“securities” within the meaning of Section 510(b), as the Bankruptcy Code expressly states that

the term includes an “interest of a limited partner in a limited partnership.” 11 U.S.C. §

101(49)(A)(xiii).

       14.     The Trustee has determined that each of the Claims was filed by the Claimants on

account of asserted equity interests held by such Claimant in the Debtor, i.e. based solely on

ownership of limited partnership interests in the Debtor. As holders of limited partnership




                                                                                                 4
       Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 5 of 18




interests of the Debtor, the Claimants do not have “claims” against the Debtor. See 11 U.S.C. §

501(a) (stating that “[a]n equity security holder may file a proof of interest.”)

       15.     Failure to appropriately classify the Claims would therefore entitle the Claimants

to recoveries on account of such “claims” to which those Claimants are not entitled. The

subordination of the Claims will enable the Debtor to administer the estate by making

distributions to holders of allowed unsecured claims.

       16.     Accordingly, the Trustee seeks entry of an order, substantially in the form

attached hereto (the “Order”), reclassifying the Claims of the Claimants identified on Exhibit B

to this Objection as equity claims.

B. Equity Interests Should be Allowed Based on Value of Investments and Withdrawals

       17.     Through entry of the Order, the Trustee further seeks allowance of the Claims of

the Claimants in amounts reflecting the total of each individual Claimant’s respective cash

transactions (including investments and distributions) and non-cash transactions (including

investments) with the Debtor (collectively, the “Allowed Claim Amount”), as set forth on

Exhibit C to this Objection.

       18.     Any amounts provided to the Claimants by the Debtor in the form of a statement

may have been part of the Debtor’s fraudulent scheme and may not reflect real or trustworthy

values. The Trustee and his professionals have determined that the Allowed Claim Amount most

closely reflects the true amounts of cash and security transfers between the Claimants and the

Debtor.

       19.     The Trustee notes that Claimant #5 listed on Exhibit C made transfers to

Claimants #17 to 21 and Claimant #23. These transfers from Claimant #5 to Claimants #17 to 21

and Claimant #23 should be reclassified as distributions from Claimant #5. Exhibit C reflects the



                                                                                               5
       Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 6 of 18




deduction of these amounts from the adjusted balance and Allowed Claim Amount of Claimant

#5. This reclassification and deduction properly reflects the amounts of cash and security

transfers between Claimant #5 and the Debtor.

       20.     Through entry of the Order, the Trustee further seeks waiver of local bankruptcy

rule 3007-1(f), which requires a proposed procedure for the handling of omnibus objections.

This Objection otherwise complies with all Bankruptcy Code and local rules for an omnibus

objection. In support of this request, the Trustee declares in the Affidavit attached hereto that

this Objection is the only omnibus objection that the Trustee will file on behalf of the Debtor in

this matter.

                                     RESERVATION OF RIGHTS

       21.     The Trustee expressly reserves the right to amend, modify, or supplement this

Objection and file additional substantive (to the extent allowable by the Court) or non-

substantive objections to the Claims objected to herein, or any other claims, filed or not, which

may be asserted against the Debtor. Should one or more of the grounds of objection stated in

this Objection be overruled, the Trustee reserves the right to object on any other applicable

grounds. In addition, the Trustee reserves to right to reduce any Claim for any reason, including

to the extent such Claim has been paid. The Trustee reserves the right to raise further objections,

including objections under section 502(d) of the Bankruptcy Code. To the maximum extent

allowable by the Court, nothing in this Objection or the relief requested herein shall limit the

right of the Trustee to bring future and/or additional objections to any of the Claims on any basis.




                                                                                                  6
       Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 7 of 18




       WHEREFORE, the Trustee respectfully requests entry of the Order granting the relief

requested herein and such other and further relief as the Court may deem proper.

DATED: June 12, 2017

                                                  Respectfully submitted,

                                                  DIAMOND McCARTHY LLP

                                                      By:      /s/ Charles Rubio
                                                              Kyung S. Lee
                                                              TBA No. 12128400
                                                              Charles Rubio
                                                              TBA No. 24083768
                                                              crubio@diamondmccarthy.com
                                                              909 Fannin, Suite 1500
                                                              Houston, Texas 77010
                                                              Telephone: (713) 333-5100
                                                              Facsimile: (713) 333-5195

                                                              COUNSEL TO RODNEY D. TOW.
                                                              CHAPTER 7 TRUSTEE OF
                                                              GARRISON MUNICIPAL
                                                              PARTNERS, L.P.



                                 CERTIFICATE OF SERVICE

        I certify that on June 12, 2017, a true and correct copy of the foregoing document was
served by (i) the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas to all parties registered to receive such service; and (ii) transmitted to
the parties listed below by the method indicated, within one business day of the filing.

                                              /s/ Charles Rubio
                                              Charles Rubio




                                                                                                   7
               Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 8 of 18




                                           By U.S first class mail



     Bryan Consolidated                  Donald J & Kay M. Green                      Elizabeth Maples
   1331 Lamar, Suite 1075                     P.O. Box 1088                          576 Hopkins Street
   Houston, TX 77010-3025                 Alpine, TX 79831-1088                     Menlo Park, CA 94025

        HRB Global                         HRB Oil & Gas, Ltd.                        Jay Steven Adelson
4311 Oak Lawn Ave. Suite 360           4311 Oak Lawn Ave. Suite 360                    30 Kite Hill Lane
   Dallas, TX 75219-2338                     Dallas, TX 75219-2338               Mill Valley, CA 94941-1458


         J.P. Bryan                  J.P. & Mary Jon Bryan Foundation              Margaret Vonder Hoya
   1331 Lamar, Suite 1075                  1331 Lamar, Suite 1075               4311 Oak Lawn Ave. Suite 360
   Houston, TX 77010-3025                 Houston, TX 77010-3025                   Dallas, TX 75219-2338


  MVH Grandchildren's Trust             Margaret Vonder Hoya Trust                    Mary Jon Bryan
  Chris Vonder Hoya, Trustee           4311 Oak Lawn Ave. Suite 360                1331 Lamar, Suite 1075
4311 Oak Lawn Ave., Suite 360             Dallas, TX 75219-2338                    Houston, TX 77010-3025
    Dallas, TX 75219-2338

       Mike Maples, Jr.                      Mike Maples, Sr.                           MJMJR, Ltd.
 820 Ramona Street, Suite 200                8609 Navidad Dr.                    820 Ramona Street, Suite 200
  Palo Alto, CA 94301-2734                 Austin, TX 78735-1468                  Palo Alto, CA 94301-2734
                                                                              Bradford Clay Vonder Hoya 2012 Trust
    Patricia Thomas IRA                     Robert Kevin Rose                     c/o Michael J Durrschmidt
      5735 Indian Circle                      47 N 4th Place                      Hirsch & Westheimer, PC
  Houston, Texas 77057-1302              Brooklyn, NY 11249-3104                  1415 Louisiana, 36th Floor
                                                                                    Houston, Texas 77002

Elizabeth Carrie Petty 2012 Trust   Margaret Louise Petty Morris 2012 Trust      Margaret Louise Bright Petty
   By and through its Trustee,           c/o Michael J Durrschmidt                    Testamentary Trust
           Christopher                   Hirsch & Westheimer, PC                  c/o Michael J Durrschmidt
    c/o Michael J Durrschmit             1415 Louisiana, 36th Floor               Hirsch & Westheimer, PC
    1415 Louisia, 36th Floor,              Houston, Texas 77002                  1415 Louisiana, 36th Floor
       Houston, TX 77002                                                            Houston, Texas 77002

 Nathan Bright Petty 2012 Trust
   c/o Michael J Durrschmidt
   Hirsch & Westheimer, PC
  1415 Louisiana, 36th Floor
     Houston, Texas 77002




                                                                                                      8
          Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 9 of 18




                                                 Exhibit A

                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                          §
                                §
GARRISON MUNICIPAL PARTNERS, LP §                                    Case No. 14-32867
                                §                                       (Chapter 7)
    DEBTOR.                     §
                                §

            AFFIDAVIT OF RODNEY D. TOW, CHAPTER 7 TRUSTEE OF THE
            ESTATE OF GARRISON MUNICIPAL PARTNERS, LP IN SUPPORT
         OF TRUSTEE’S OMNIBUS OBJECTION TO PROOFS OF CLAIM FILED BY
            LIMITED PARTNERS OF GARRISON MUNICIPAL PARTNERS, L.P.

  [Claim Nos. 2, 3, 4, 5, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28,
             29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, and 45]

          I, Rodney D. Tow, the trustee of the chapter 7 estate of Garrison Municipal Partners, L.P.

(the “Partnership” or the “Debtor”), being duly sworn, state the following under penalty of

perjury:

          1.     Except as otherwise indicated, all statements in this declaration are based on my

personal knowledge, information and belief, my review and discussion of relevant documents or

my opinion based upon my experience and knowledge. If called to testify, I could and would

testify to each of the facts set forth herein.

          2.     I submit this affidavit (the “Affidavit”) in support of the Trustee’s Omnibus

Objection to Proofs of Claim Filed by Limited Partners of Garrison Municipal Partners, L.P.

(the “Objection”). I am authorized to make this Affidavit.

          3.     I have personally reviewed proofs of claim numbers 2 to 5 and 10 to 45 (the

“Claims”) filed by certain limited partners of the Partnership (the “Claimants”) against the

Debtor. The Claims, in the opinion of the Trustee, seek amounts that are not duly owing to the

                                                                                                        9
      Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 10 of 18




Claimants. On that basis, I requested counsel to review and if appropriate file the necessary

objections.

       4.      I have read the Objection, and I am generally familiar with the information

contained therein, which is true and correct to the best of my knowledge.

       5.      Based on this review, the Trustee has determined that the Claims should be

recharacterized for the reasons and allowed in the amounts set forth in the Objection.

       6.      This Objection is the only omnibus objection that will be filed by the Trustee on

behalf of the Debtor in this matter.

       I declare under penalty of perjury that the foregoing is true and correct.

Dated: June 12, 2017.

                                                     /s/ Rodney D. Tow
                                                     Rodney D. Tow
                                                     Trustee for the Chapter 7 Estate of Garrison
                                                     Municipal Partners, LP




                                                                                               10
Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 11 of 18




                                          Exhibit B

                         Claimants and Claims Objected To
Claimant                      Claim No.         Ground for         Page in Omnibus
                                                Objection          Objection Pertinent to
                                                                   Stated Grounds
Bradford Clay Vonder Hoya          18, 32       Subordination and           3-5
2012 Trust                                       Allowance Based
                                                on Transfer Values

Bryan Consolidated                 25, 44       Subordination and           3-5
Business Interests                               Allowance Based
                                                on Transfer Values

Donald J. Green                      2          Subordination and           3-5
                                                 Allowance Based
                                                on Transfer Values

Elizabeth Carrie Petty 2012      10, 11, 34     Subordination and           3-5
Trust                                            Allowance Based
                                                on Transfer Values

Elizabeth Maples                   21, 29       Subordination and           3-5
                                                 Allowance Based
                                                on Transfer Values

HRB Global LTD                     16, 36       Subordination and           3-5
                                                 Allowance Based
                                                on Transfer Values

HRB Oil & Gas LTD                  13, 37       Subordination and           3-5
                                                 Allowance Based
                                                on Transfer Values

Jay Steven Adelson                   5          Subordination and           3-5
                                                 Allowance Based
                                                on Transfer Values

JP Bryan                           26, 45       Subordination and           3-5
                                                 Allowance Based
                                                on Transfer Values

JP & Mary Jon Bryan                24, 43       Subordination and           3-5
Foundation                                       Allowance Based
                                                on Transfer Values

Margaret Louise Petty              19, 31       Subordination and           3-5
Morris 2012 Trust                                Allowance Based
                                                on Transfer Values


                                                                                            11
Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 12 of 18




Margaret Louise Bright     27, 41   Subordination and    3-5
Petty Testamentary Trust             Allowance Based
                                    on Transfer Values

Margaret Vonder Hoya       15, 40   Subordination and    3-5
                                     Allowance Based
                                    on Transfer Values

Margaret Vonder Hoya       12, 33   Subordination and    3-5
Grandchildren's Trust                Allowance Based
                                    on Transfer Values

Margaret Vonder Hoya       14, 39   Subordination and    3-5
Trust                                Allowance Based
                                    on Transfer Values

Mary Jon Bryan             23, 42   Subordination and    3-5
                                     Allowance Based
                                    on Transfer Values

Michael J. Maples, Sr.     20, 30   Subordination and    3-5
                                     Allowance Based
                                    on Transfer Values

Michael Maples, Jr.        22, 28   Subordination and    3-5
                                     Allowance Based
                                    on Transfer Values

MJMJR LTD                  11, 38   Subordination and    3-5
                                     Allowance Based
                                    on Transfer Values

Nathan Bright Petty 2012   17, 35   Subordination and    3-5
Trust                                Allowance Based
                                    on Transfer Values

Patricia Allred Thomas       3      Subordination and    3-5
                                     Allowance Based
                                    on Transfer Values

Robert Kevin Rose            4      Subordination and    3-5
                                     Allowance Based
                                    on Transfer Values




                                                                     12
                       Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 13 of 18




                                                                         Exhibit C

                                                  Allowed Claim Amounts for Claimants

                                                    Cash Transactions            Non-Cash Transactions
                                                                                                                                                 Adjusted Balance and
                 Limited Parter                Investments     Distributions            Investments        Total          Reclassification       Allowed Claim Amount


1    JP Bryan                                   1,820,000.00      (748,835.16)             (601,164.84)     470,000.00                    0.00                 470,000.00
2    Bryan Consolidated Business Interests      3,075,000.00      (660,400.00)                     -      2,414,600.00                    0.00               2,414,600.00
3    JP & Mary Jon Bryan Foundation               100,000.00       (45,000.00)                     -         55,000.00                    0.00                  55,000.00
4    Mary Jon Bryan                             2,500,000.00              -                 200,000.00    2,700,000.00                    0.00               2,700,000.00
5    Margaret Vonder Hoya                       8,799,959.98        (1,323.30)              200,040.02    8,998,676.70             -153,360.60               8,845,316.10
6    HRB Global LTD                             5,298,834.61    (2,202,124.33)              701,165.39    3,797,875.67                    0.00               3,797,875.67
7    Donald J Green                             1,900,000.00      (275,000.00)                     -      1,625,000.00                    0.00               1,625,000.00
8    Margaret Vonder Hoya Trust                   500,000.00        (2,280.16)              350,000.00      847,719.84                    0.00                 847,719.84
9    Michael J Maples, Jr.                      3,000,000.00              -                        -      3,000,000.00                    0.00               3,000,000.00
10   MJMJR LTD                                    100,000.00              -                        -        100,000.00                    0.00                 100,000.00
11   Michael J Maples, Sr.                      2,500,000.00              -                        -      2,500,000.00                    0.00               2,500,000.00
12   HRB Oil & Gas LTD                            700,000.00        (1,454.26)                     -        698,545.74                    0.00                 698,545.74
13   Jay Steven Adelson                           500,000.00      (172,816.00)                     -        327,184.00                    0.00                 327,184.00
14   Robert Kevin Rose                            250,000.00      (150,000.00)              350,000.00      450,000.00                    0.00                 450,000.00
15   Patricia Allred Thomas                     4,000,000.00              -                        -      4,000,000.00                    0.00               4,000,000.00
16   Elizabeth Maples                           1,100,000.00              -               1,200,663.93    2,300,663.93                    0.00               2,300,633.93
17   Margaret Vonder Hoya Grandchildren's                -         (30,647.86)                     -        (30,647.86)              30,647.86                       0.00
18   Nathan Bright Petty 2012 Trust                      -         (30,647.86)                     -        (30,647.86)              30,647.86                       0.00
19   Margaret Louise Petty Morris 2012 Trust             -         (30,647.86)                     -        (30,647.86)              30,647.86                       0.00
20   Elizabeth Carrie Petty 2012 Trust                   -         (30,647.86)                     -        (30,647.86)              30,647.86                       0.00
21   Bradford Clay Vonder Hoya 2012 Trust                -         (30,647.86)                     -        (30,647.86)              30,647.86                       0.00
22   The Maples Descendants Trust                        -                -                        -               -                      0.00                       0.00
23   Margaret Louise Bright Petty Testamen               -            (121.30)                     -           (121.30)                 121.30                       0.00




                                                                                                                                                        13
Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 14 of 18




                   Proposed Order
         Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 15 of 18




                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                   §
                                                         §
GARRISON MUNICIPAL PARTNERS,                             §                   Case No. 14-32867
LP                                                       §                      (Chapter 7)
                                                         §
          DEBTOR.                                        §


       ORDER APPROVING CHAPTER 7 TRUSTEE’S OMNIBUS OBJECTION TO
    PROOFS OF CLAIM FILED BY LIMITED PARTNERS OF GARRISON MUNICIPAL
            PARTNERS, L.P.PURSUANT TO BANKRUPTCY RULE 510(b)

    [Claim Nos. 2, 3, 4, 5, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28,
                29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, and 45]

          Came on for consideration the Trustee’s Omnibus Objection to Proofs of Claim Filed by

Limited Partners of Garrison Municipal Partners, L.P. (the “Objection”) filed by Rodney D.

Tow, the Chapter 7 Trustee (the “Trustee”) of Garrison Municipal Partners, L.P. (the “Debtor”),

seeking entry of an order (i) reclassifying the Claims1 of the Claimants set forth on Exhibit A

attached hereto as equity claims, and (ii) allowing the Claims in the Allowed Claim Amount as

set forth on Exhibit B; and it appearing to the Court that the notice of time for creditors and

parties-in-interest to object to the Objection and the hearing date on the Objection is appropriate

notice under the circumstances of this case and as set out in the allegations in the Objection; and

this Court having determined that the relief requested in the Objection is in the best interest of

the Chapter 7 estate, its creditors and other parties-in-interest; and after due consideration of the

pleadings and objections, if any filed, the evidence adduced at the hearing on the Objection and

the reasons stated on the record at the hearing seeking approval of the Objection: IT IS

THEREFORE ORDERED, ADJUDGED AND DECREED THAT:
1
              Capitalized terms used but not defined herein have the meanings ascribed to them in the Objection.

                                                                                                                   1
      Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 16 of 18




       1.      All responses to the Objection, as they pertain to the entry of this Order, are

overruled to the extent they have not been withdrawn, waived or otherwise resolved.

       2.      The Claims set forth on Exhibit A to this Order shall be reclassified and

subordinated to the level of equity claims pursuant to section 510(b) of the Bankruptcy Code.

       3.      The Claims shall be allowed in the Allowed Claim Amount, as set forth on

Exhibit B to this Order.

       4.      Local bankruptcy rule 3007-1(f) is waived for the purposes of this Objection.

       5.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

               Dated this __ day of ______, 2017.




                                              KAREN K. BROWN
                                              UNITED STATES BANKRUPTCY JUDGE




                                                                                                   2
Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 17 of 18




                                 Exhibit A

                  Claimants and Claims Objected To

               Claimant                  Claim Number
               Bradford Clay Vonder Hoya      18, 32
               2012 Trust
               Bryan Consolidated             25, 44
               Business Interests
               Donald J. Green                   2
               Elizabeth Carrie Petty 2012   10, 11, 34
               Trust
               Elizabeth Maples               21, 29
               HRB Global LTD                 16, 36
               HRB Oil & Gas LTD              13, 37
               Jay Steven Adelson               5
               JP Bryan                       26, 45
               JP & Mary Jon Bryan            24, 43
               Foundation
               Margaret Louise Petty          19, 31
               Morris 2012 Trust
               Margaret Louise Bright         27, 41
               Petty Testamentary Trust
               Margaret Vonder Hoya           15, 40
               Margaret Vonder Hoya           12, 33
               Grandchildren's Trust
               Margaret Vonder Hoya           14, 39
               Trust
               Mary Jon Bryan                 23, 42
               Michael J. Maples, Sr.         20, 30
               Michael Maples, Jr.            22, 28
               MJMJR LTD                      11, 38
               Nathan Bright Petty 2012       17, 35
               Trust
               Patricia Allred Thomas            3
               Robert Kevin Rose                 4




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                          Case 14-32867 Document 252 Filed in TXSB on 06/12/17 Page 18 of 18




                                                                           Exhibit B

                                                    Allowed Claim Amounts for Claimants



                                                    Cash Transactions            Non-Cash Transactions
                                                                                                                                                 Adjusted Balance and
                 Limited Parter                Investments     Distributions            Investments        Total          Reclassification       Allowed Claim Amount


1    JP Bryan                                   1,820,000.00      (748,835.16)             (601,164.84)     470,000.00                    0.00                   470,000.00
2    Bryan Consolidated Business Interests      3,075,000.00      (660,400.00)                     -      2,414,600.00                    0.00                 2,414,600.00
3    JP & Mary Jon Bryan Foundation               100,000.00       (45,000.00)                     -         55,000.00                    0.00                    55,000.00
4    Mary Jon Bryan                             2,500,000.00              -                 200,000.00    2,700,000.00                    0.00                 2,700,000.00
5    Margaret Vonder Hoya                       8,799,959.98        (1,323.30)              200,040.02    8,998,676.70             -153,360.60                 8,845,316.10
6    HRB Global LTD                             5,298,834.61    (2,202,124.33)              701,165.39    3,797,875.67                    0.00                 3,797,875.67
7    Donald J Green                             1,900,000.00      (275,000.00)                     -      1,625,000.00                    0.00                 1,625,000.00
8    Margaret Vonder Hoya Trust                   500,000.00        (2,280.16)              350,000.00      847,719.84                    0.00                   847,719.84
9    Michael J Maples, Jr.                      3,000,000.00              -                        -      3,000,000.00                    0.00                 3,000,000.00
10   MJMJR LTD                                    100,000.00              -                        -        100,000.00                    0.00                   100,000.00
11   Michael J Maples, Sr.                      2,500,000.00              -                        -      2,500,000.00                    0.00                 2,500,000.00
12   HRB Oil & Gas LTD                            700,000.00        (1,454.26)                     -        698,545.74                    0.00                   698,545.74
13   Jay Steven Adelson                           500,000.00      (172,816.00)                     -        327,184.00                    0.00                   327,184.00
14   Robert Kevin Rose                            250,000.00      (150,000.00)              350,000.00      450,000.00                    0.00                   450,000.00
15   Patricia Allred Thomas                     4,000,000.00              -                        -      4,000,000.00                    0.00                 4,000,000.00
16   Elizabeth Maples                           1,100,000.00              -               1,200,663.93    2,300,663.93                    0.00                 2,300,633.93
17   Margaret Vonder Hoya Grandchildren's                -         (30,647.86)                     -        (30,647.86)              30,647.86                         0.00
18   Nathan Bright Petty 2012 Trust                      -         (30,647.86)                     -        (30,647.86)              30,647.86                         0.00
19   Margaret Louise Petty Morris 2012 Trust             -         (30,647.86)                     -        (30,647.86)              30,647.86                         0.00
20   Elizabeth Carrie Petty 2012 Trust                   -         (30,647.86)                     -        (30,647.86)              30,647.86                         0.00
21   Bradford Clay Vonder Hoya 2012 Trust                -         (30,647.86)                     -        (30,647.86)              30,647.86                         0.00
22   The Maples Descendants Trust                        -                -                        -               -                      0.00                         0.00
23   Margaret Louise Bright Petty Testamen               -            (121.30)                     -           (121.30)                 121.30                         0.00




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